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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               Case No. 20-cv-60723-KMW

  JAMES GREEN,

          Plaintiff,

  vs.

  SGT. WILLIAMS, et al.,

          Defendants.
                              /

                                           ORDER

          THIS MATTER is before the Court on Magistrate Judge Lisette M. Reid’s Report

  and Recommendation (DE 13) on Plaintiff’s amended complaint filed pursuant to 42

  U.S.C. § 1983 (DE 8). Plaintiff did not file objections to the Report and the time to do so

  has now passed. Upon an independent review of the Report, the record, and applicable

  case law, it is ORDERED AND ADJUDGED as follows:

          1. The conclusions in the Report (DE 13) are AFFIRMED AND ADOPTED.

          2. Plaintiff’s First Amendment retaliation claim against Defendant Hankerson, in

              his individual capacity, shall PROCEED.

          3. Plaintiff’s Eighth Amendment claim of unsanitary conditions of confinement

              against Defendant Hankerson, in his individual capacity, shall PROCEED.

          4. Plaintiff’s remaining claims are DISMISSED WITHOUT PREJUDICE.

          5. Defendant Sergeant Williams is TERMINATED from this action.

          DONE AND ORDERED in Chambers in Miami, Florida, this 30th day of December

  2020.
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  CC:

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